Case 21-16520-JNP       Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32               Desc Main
                                  Document     Page 1 of 10


   MATHEW J. PLATKIN
   ACTING ATTORNEY GENERAL OF NEW JERSEY
   R.J. Hughes Justice Complex
   25 Market Street
   P.O. Box 106
   Trenton, New Jersey 08625-0106
   Attorney for Creditor, State of New Jersey,
    Division of Taxation

   By:      Ramanjit K. Chawla (ID#003972002)
            Deputy Attorney General
            (609) 376-2862


                            UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW JERSEY

 _________________________
                          )
 In re:                   )                           Case No.        21-16520
                          )
 Aluminum Shapes, LLC,    )                           Chapter 11
                          )
      Debtor.             )                           Hearing Date:
 _________________________)


   THE STATE OF NEW JERSEY, DIVISION OF TAXATION’S OBJECTION TO
                   CONFIRMATION OF DEBTOR’S PLAN

              The      State       of     New     Jersey,        Division         of     Taxation

 (“Taxation”) objects to confirmation of the Debtor’s Plan of

 Reorganization (“the Plan”).

                                        INTRODUCTION

       1.     Confirmation of Debtor’s Plan should be denied because

 the Plan fails to provide adequate treatment of Taxation’s claim

 (Claims Register Nos. 70, 10037, 10042)1 including priority, and


   1   Priority Claim No. 42 filed 9/28/2021 was amended to claim No. 70 filed 10/28/2021. See
   https://dm.epiq11.com/case/aluminumshapes/claims
Case 21-16520-JNP        Doc 442     Filed 03/11/22 Entered 03/11/22 13:15:32              Desc Main
                                    Document     Page 2 of 10



 administrative debt, as required under 11 U.S.C. § 1129(a)(9).

 Specifically, this Court should deny confirmation of Debtor’s Plan

 for the following reasons:

             a. Debtor’s Plan does not propose to pay the full amounts
                of Taxation’s priority debt;

             b. Debtor’s Plan does not propose to repay priority debt
                over a period ending five years after the petition date;

             c. The Plan fails to include the statutory rate of post-
                confirmation interest;

             d. Debtor has not filed required tax returns;

             e. Debtor’s Plan            does     not     propose       a    monthly       payment
                interval; and

             f. The Plan fails to provide default remedies for tax
                claimants.


                                                FACTS

        2.      On August 15, 2021, Debtor filed a petition for relief

 under Chapter 11 of the Bankruptcy Code.                         Document Number 1.

        3.      Taxation       filed      the     following       claims       against      Debtor

 (Claims Register Numbers Nos. 70, 78, 10037, 10042) that includes:


                a.      Priority debt claim No. 70 in the amount of
                        $2,270.67, for New Jersey Spill Compensation and
                        Control Tax (“SPILL”) returns for tax periods
                        January 2021, July 2021 and March 2019 and
                        Corporation Business Tax (“CBT”) for tax year 2020;
                        and

 Administrative Claim No.44 filed 9/28/2021 was amended to claim No.78 filed 11/9/2021. Claim No. 78
 was amended to claim #10037 on 12/14/2021, which was amended to claim No. 10042 on 2/24/2022
  See https://dm.epiq11.com/case/aluminumshapes/claims

                                                - 2 -
Case 21-16520-JNP    Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                               Document     Page 3 of 10




            b.      Administrative debt in the amount of $4,275.03, for
                    SPILL tax returns for August 2021, September 2021,
                    December 2021 and January 2022 and Sales and Use
                    Tax returns(“SUT”) for the third and fourth
                    quarters of 2021.

      4.    Debtor's Plan fails to provide for proper payment of

 Taxation’s claims.



                                      ARGUMENT

                                      POINT I

            THE COURT SHOULD DENY CONFIRMATION OF DEBTOR’S
            PLAN OF REORGANIZATION BECAUSE IT FAILS TO
            MEET   THE    REQUIREMENTS   OF    11   U.S.C.
            §1129(a)(9)(C) FOR PRIORITY CLAIMS,        AND
            §1129(a)(9)(A) FOR ADMINISTRATIVE CLAIMS.

      5.    Payout treatment of priority tax claims in Chapter 11

 reorganizations is governed by 11 U.S.C. § 1129(a)(9)(C).                    This

 statutory provision states:

            [w]ith respect to a claim of a kind specified
            in section 507(a)(8) of this title [Priority
            Tax Claims], the holder of such claim will
            receive on account of such claim regular
            installment payments in cash -- (i) of a total
            value, as of the effective date of the plan,
            equal to the allowed amount of such claim;
            (ii) over a period ending not later than 5
            years after the date of the order for relief
            under section 301, 302, or 303; and (iii) in
            a manner not less favorable than the most
            favored nonpriority unsecured claim provided
            for by the plan (other than cash payments made
            to a class of creditors under section
            1122(b)).


                                        - 3 -
Case 21-16520-JNP     Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                                Document     Page 4 of 10




        6.      Accordingly, payment of the Taxation’s priority debts

 must not only be provided for in full by Debtor’s Plan but also

 must be repaid in regular monthly installments over a period ending

 not later than five years from the petition date to comply with §

 1129(a)(9)(C).       Debtor’s Plan does not comply

        7.      In addition, the Plan fails to provide for repayment

 with    post-confirmation        interest    at   the   statutory    rate.      As

 provided by § 1129(a)(9)(C)(i) a priority creditor is entitled to

 repayment of the total “value” of its claim as of the effective

 date.       In order for a creditor to receive the “value” of its claim,

 payments must include post-confirmation interest to compensate for

 the true value of money.

        8.      The proper post-confirmation interest rate is the state

 statutory rate for repayment of taxes.                  Pursuant to § 511(a),

 “[i]f any provision of this title requires ... the payment of

 interest to enable a creditor to receive the present value of the

 allowed amount of a tax claim, the rate of interest shall be the

 rate determined under applicable nonbankruptcy law.”

        9.      Further, pursuant to §511(b), “[i]n the case of taxes

 paid under a confirmed plan under this title, the rate of interest

 shall be determined as of the calendar month in which the plan is

 confirmed.”


                                         - 4 -
Case 21-16520-JNP   Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                              Document     Page 5 of 10



      10.    Taxation’s    statutory      rate   of    interest   is   currently

 6.75%.     See N.J.S.A. 54:49-3 (unless provided for by other law,

 interest on tax due accrue “at the rate of three percentage points

 above the prime rate assessed for each month or fraction thereof,

 compounded annually at the end of each year, from the date the tax

 was originally due until the date of actual payment”).

      11.    Further,     Taxation     objects    to     the   confirmation    of

 Debtor’s Plan because the Plan fails to provide for the allowance

 of post-petition, pre-confirmation interest on, and inclusion in,

 the secured claims.       The accrual of post-petition interest under

 11 U.S.C. § 506(b) applies equally to consensual and nonconsensual

 liens.     U.S. v. Ron Pair Enterprises, 489 U.S. 235, 240 (1989).

 Some courts have held that a creditor’s failure to assert its right

 to post-petition, pre-confirmation interest under §506(b) can lead

 to forfeiture of those rights.            U.S. v. Victor, 121 F.3d 1383,

 1386 (10th Cir. 1997).         Taxation requests that Debtor amend its

 Plan to provide that the allowed secured claims will include post-

 petition, pre-confirmation interest at the statutory rate pursuant

 to § 506(b).

      12.    Debtor’s Plan also violates § 1129(a)(9)(C) because it

 fails to provide for a payment interval.             As this section provides,

 Taxation’s claims are to be repaid in “regular installment payments



                                       - 5 -
Case 21-16520-JNP   Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32    Desc Main
                              Document     Page 6 of 10



 in cash.”    Many courts have determined that a reasonable interval

 for a Chapter 11 debtor’s deferred cash payments under a Chapter

 11 Plan is monthly.     See, e.g., In re Mason & Dixon Lines, 71 B.R.

 300, 302-03 (Bankr. M.D. N.C. 1987) (monthly payments unless

 special or unusual circumstances exist); In re Inventive Packaging

 Corp., 81 B.R. 74, 79 (Bankr. D. Colo. 1987) (monthly payments);

 In re Mahoney, 80 B.R. 197, 200 (Bankr. S.D. Cal. 1987) (monthly

 payments).

      13.    Since these cases approve a monthly payment, Taxation

 request that the taxes be paid in equal monthly payments beginning

 on the effective date of the Plan with respect to its priority

 claim.

      14.    Regarding   Taxation’s       administrative     claims,      Debtor's

 Plan does not provide for payment of its post-petition taxes.                  In

 accordance with 11 U.S.C. § 1129(a)(9)(A), such claims must be

 treated as follows:

             with respect to a claim of the kind specified
             in section 507(a)(2) or 507(a)(3) of this
             title, on the effective date of the plan, the
             holder of such claim will receive on account
             of such claim cash equal to the allowed amount
             of the claim.

      15.    Thus, Taxation requests that the post-petition taxes be

 paid in full on the effective date of the plan.




                                       - 6 -
Case 21-16520-JNP    Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                               Document     Page 7 of 10



      16.   In addition, Debtor has failed to file numerous tax

 returns.     Specifically, Debtor has failed to file:

            a.      SPILL Tax returns for March 2019, September 2021,

                    December 2021 and January 2022.            Debtor has also

                    failed to file SUT tax returns for the 3rd and 4th

                    quarters of 2021.         Finally, Debtor has failed to

                    file its 2020 CBT return.

      17.   A Plan filed under Chapter 11 should not be confirmed

 unless all the mandatory requirements of 11 U.S.C. § 1129 are met.

 The burden is on the debtor to prove that all of these requirements

 have been complied with, therefore making the Plan capable of being

 confirmed.    In re Jacob Wandler, 77 B.R. 728, 733 (Bankr. D. N.D.

 1987).

      18.   Since Debtor has not complied with the requirements of

 11 U.S.C. § 1129(a)(9)(C) for priority claims, § 1129(a)(9)(D) and

 § 1129(a)(9)(A) for administrative claims, Taxation respectfully

 submits that this court should not confirm Debtor’s Plan.




                                        - 7 -
Case 21-16520-JNP    Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32       Desc Main
                               Document     Page 8 of 10



                                     POINT III

             THE COURT SHOULD DENY CONFIRMATION OF DEBTOR'S
             PLAN BECAUSE IT FAILS TO PROVIDE DEFAULT
             REMEDIES.


       19.   Taxation objects to Debtor’s Plan because Debtor failed

 to provide Taxation non-bankruptcy remedies in the event of a plan

 default.    Although §1123(a)(5)(G) specifies that a Plan should

 provide default remedies for creditors, the Debtor’s Plan fails to

 provide any such remedies.              Lack of default remedies forces

 creditors, especially priority tax claimants, into an untenable

 situation should the debtor default on Plan obligations.                      Without

 proper default Plan provisions, priority tax claimants would be

 forced to pursue collection of Plan defaults in this Court.

       20.   A post-confirmation default should be treated as any

 other contractual default under state law.                Instead of increasing

 the burden upon creditors, the Plan should grant creditors clear

 and   concise      default      remedies       in    forums     with       concurrent

 jurisdiction.        Without      adequate     default       remedies,      the   Plan

 deprives    Taxation    the      ability     to     pursue    Plan     defaults    in

 nonbankruptcy      forums.       Taxation      requests      that    the    following

 language be included in the confirmation order:

       Retained Jurisdiction and Enforcement Remedies for Tax
       Claimants: Notwithstanding anything in this plan to the
       contrary, the Bankruptcy Court shall not retain


                                        - 8 -
Case 21-16520-JNP    Doc 442    Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                               Document     Page 9 of 10



      jurisdiction with respect to tax claims except for (i)
      resolving the amount any tax claims arising prior to
      confirmation,   and   (ii)   enforcing   the   discharge
      provisions of the confirmed plan.      A failure by the
      reorganized debtor to make a payment to holders of tax
      claims pursuant to the terms of the plan shall be an
      event of default. If the reorganized debtor fails to
      cure an event of default as to Plan payments on the tax
      claims within thirty days after receipt of written
      notice of default from a tax claimant, then the tax
      claimant may (a) enforce the entire amount of its claim;
      (b) exercise any and all rights and remedies such tax
      claimant may have under applicable nonbankruptcy law;
      and/or (c) seek such relief as may be appropriate in
      this Court.

      21.   The Taxation respectfully submits that this Court should

 not confirm this Plan because it fails to provide adequate default

 remedies for tax claims.

                           RESERVATION OF RIGHTS

      Taxation      respectfully      reserve    its   right    to   (a)    amend,

 supplement, or otherwise modify this Objection, (b) assert or raise

 such other and further objections or responses to the confirmation

 of the Plan based on additional information received from the

 Debtor(s) or other sources, and (c) assert all rights and remedies

 under the Bankruptcy Code and applicable non-bankruptcy state and

 federal law against the Debtor(s) and any non-debtor third parties.



      For the foregoing reasons, the State of New Jersey, Division

 of Taxation respectfully requests this Honorable Court to (1) deny



                                        - 9 -
Case 21-16520-JNP   Doc 442 Filed 03/11/22 Entered 03/11/22 13:15:32   Desc Main
                           Document    Page 10 of 10



 confirmation of the Debtor’s Plan; or (2) alternatively require

 the debtor to modify its Plan to correct the deficiencies set forth

 above; and (3) to grant any other relief deemed fair and equitable.

                                    Respectfully submitted,

                                    MATHEW J. PLATKIN
                                    ACTING ATTORNEY GENERAL OF NEW JERSEY


                              By:   /s/ Ramanjit K. Chawla
                                    Ramanjit K. Chawla
 Dated: 3/11/2022                        Deputy Attorney General




                                    - 10 -
